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From: Stewartl Brandi (USAOHS)

To: Ho|ly Nease@tned.uscourts.gov

Cc: Jennifer Morton; jen@jmorton|aw.com; maha@jmorton|aw.com; Yates Christopher (USAOHS)

Subject: Almanza v. Jeff Sessions, Case No. 3:15-cv-389 (Hon. Varlan/Hon. Guyton) - Document Co||ection and Review
Update

Date: Monday, October 30, 2017 3:27:00 PM

 

Hon. H. Bruce Guyton

United States District Court, Eastern District of Tennessee

800 |\/larl<et Street, Suite 130

Knoxville, Tennessee 37902

E-mail address: c/o l\/|s. Hol|y l\lease, hol|y_nease@tned.uscourts.gov

RE: A|manza v. leff Sessions, Case No. 3:15-cv-389 (Hon. Varlan/Hon. Guyton) - Document
Col|ection and Review Update

Dearludge Guyton: |n preparation for our October 31, 2017 status conference with the Court `
tomorrow, l am writing to provide an update on Defendant’s progress toward finalizing its

 

collection and document review in this case.
Defendant completed an additional document collection based on the Court's September 5,
2017 Order

On September 6, 2017, after receiving the Court's September 5, 2017 Order setting
the relevant time frame to January 1, 2012 to December 28, 2014 , we asked DOJ’s forensic
program manager, |\/|ichelle l\/|ullini)<, to search DOJ’s archives for emails belonging to Chris
English, Jane Archer, William Killian, and Nancy Harr using the search terms set forth in
Plaintiff's Ju|y 31, 2017 Proposed Reso|ution for date range January 1, 2012 to February 28,
2013 for the January 1, 2012 to February 28, 2013, and November 29, 2014 to December 28,
2014 time frames.
On October 20, 2017, |\/|s. |\/lullini>< completed her collection of emails and transfer to DOJ's
Litigation Technology Service Center (”LTSC"), who is tasked with uploading the data collected
into Relativity (DOJ’s document review platform). l\/|ost of those emails have been uploaded
into Relativity for our review. The LTSC is still processing 10.80 GB of information, and the
associated work order indicates that the documents wil| be processed no later than November
6, 2017, Once LTSC has finished processing this batch of documents, then we will have
completed our collection of documents that are potentially responsive to Plaintiff's discovery
requests for the relevant time frame.
Defendant has produced over 5.000 documents since our last status conference with the
M

Since our October 4, 2017 call with the Court, we obtained the help of two additional AUSAs
and, last week, a law clerk, to assist with our review. Over 163,000 documents that were
responsive to the search terms have been uploaded into Relativity to date for our review. We
have culled those documents down in order to filter out mishits (i.e., documents that were
responsive to a search term but had no relevance to this case). |n less than a month, the
review team has reviewed approximately 21,250 documents for responsiveness, and

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produced 5,456 documents. To date, DOJ has produced approximately 8,533 documents that

are potentially responsive to Plaintiff's discovery requests.

Our next production, which we wi|l ask the LTSC to begin preparing tomorrow, will includejust

over 3,000 documents. We have approximately 3,837 documents left to review for

responsiveness. (This number may increase once the LTSC finishes processing the 10.80 GB of
information noted above.) Once we complete our responsiveness review, then we will review
the documents that were identified as being subject to a privilege, and we will update our

privilege log and provide redacted documents, if appropriate, to Plaintiff's counsel.
Respectful|y submitted,

/s Brandi |\/|. Stewart

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cc: Christopher R. Yates, Special Attorney, Assistant United States Attorney, co-counsel for

Defendant, Jeff Sessions

Jennifer |\/|orton, Esq. and l\/laha l\/l. Ayesh, Esq., counsel for Plaintiff, l\/lichelle Almanza

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